       Case 1:25-cv-00420-CRC      Document 27     Filed 02/20/25   Page 1 of 5




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

NATIONAL TREASURY EMPLOYEES UNION, )
et al.,                            )
                                   )
          Plaintiffs,              )                        No. 1:25-cv-00420-CRC
                                   )
          v.                       )
                                   )
DONALD J. TRUMP,                   )
et al.,                            )
                                   )
          Defendants.              )

      PLAINTIFFS’ MOTION FOR LEAVE TO FILE A SUPPLEMENTAL
         DECLARATION IN SUPPORT OF THEIR MOTION FOR A
   TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION

       Plaintiffs National Treasury Employees Union (NTEU), National Federation

of Federal Employees (NFFE), International Association of Machinists and

Aerospace Workers (IAM), International Federation of Professional and Technical

Engineers (IFPTE), and the International Union, United Automobile, Aerospace

and Agricultural Implement Workers of America (UAW) (collectively, the Unions)

respectfully submit this motion for leave to file a short supplemental declaration,

with an attached email from the Internal Revenue Service (IRS) received today,

that bears directly on the issues that the Court raised regarding the Unions’

pending Motion for a Temporary Restraining Order and Preliminary Injunction.

Counsel for plaintiffs contacted counsel for the defendants by email to Mr. Kambli

and Mr. Hall on February 20, 2025, 1:28 p.m., and by a phone call to Mr. Kambli at

2:00 p.m. to ask if they would consent to this motion but did not receive a reply

before plaintiffs filed.
      Case 1:25-cv-00420-CRC      Document 27     Filed 02/20/25   Page 2 of 5




      The February 20, 2025 email from the IRS informed NTEU that “[p]er the

executive orders and guidance from OPM regarding the termination of probationary

employees I want to inform you that over 6,500 probationary IRS employees will be

separated today.” See Exhibit to Supplemental Declaration by Daniel Kaspar (Feb

20, 2025) (attached herewith). IRS employees make up the largest share of NTEU’s

dues paying members. See id. ¶ 4. NTEU represents an estimated 15,000

probationary employees at the IRS and based on NTEU membership rates, about

9,675 of those are dues-paying NTEU members. See id. ¶ 5.

      The immediacy and vast scale of these firings—and the authority that IRS

relies upon—all bear directly on questions that the Court raised at the February 18

hearing on the Unions’ pending motion. That is especially true with regard to

questions that the Court raised regarding the ripeness of arguments about the

relevant Executive Order; and with regard to the Court’s questions regarding

preclusion, for which the Unions’ theory centers on the irremediable harm from the

delays associated with channeling that they will suffer.

      Because the IRS email bears directly on ripeness and harm, the Unions’

request that the Court grant this motion so that it can have a full and complete

record during its consideration of the Union’s pending motion.




                                          2
Case 1:25-cv-00420-CRC   Document 27   Filed 02/20/25   Page 3 of 5




                            Respectfully submitted,

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                               3
Case 1:25-cv-00420-CRC   Document 27   Filed 02/20/25     Page 4 of 5




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                               4
     Case 1:25-cv-00420-CRC   Document 27   Filed 02/20/25    Page 5 of 5




                                 /s/ Teresa Ellis
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February 20, 2025                Attorney for Plaintiff UAW




                                    5
